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 UNITED STATES DISTRICT COURT                                         CIVIL CONFERENCE
 EASTERN DISTRICT OF NEW YORK                                         MINUTE ORDER


 BEFORE:      A. KATHLEEN TOMLINSON                           DATE:      5-19-2020
              U.S. MAGISTRATE JUDGE                           TIME:      10:32 a.m. (17 minutes)

                                   Jones v. Nassau County, et al.
                                     CV 16-1448 (PKC) (AKT)

 TYPE OF CONFERENCE:                   TELEPHONE STATUS CONFERENCE

 APPEARANCES:         Plaintiff:       Cory Terrell Jones, Pro Se

                      Defendant:       Andrew Kenneth Preston
                                       Michael Siravo

 FTR: 10:32-10:49

 THE FOLLOWING RULINGS WERE MADE:

 1.    Defendants’ counsel reported today that the pro se plaintiff’s deposition did not go forward
       as scheduled. A representative of the Nassau County Correctional Center advised
       defendants’ counsel that because of the COVID-19 pandemic, the jail would not be scheduling
       matters such as civil depositions until further notice because of re-directed staff
       responsibilities. On that basis, I extended the deadline to take plaintiff’s deposition to
       July 31, 2020.

       Pro se plaintiff Jones stated today that he is scheduled to be released from the NCCC this
       Thursday, May 21, 2020. Defendants would like to take a face-to-face deposition of Mr.
       Jones. Therefore, I am adhering to the July 31, 2020 deadline to accommodate that request
       in light of the current COVID-19 restrictions imposed by the governor. Should counsel run
       into an unanticipated problem with the deadline, he needs to notify the Court promptly.

 2.    Plaintiff Jones is unsure of his address once he is released from the NCCC. For the time
       being, he has agreed that mail can be sent to his parents’ address at 178 Pine Street, Apt. N,
       Freeport, New York 11520. The Court remined Mr. Jones that he has an ongoing obligation
       keep the Court apprised of his location and he is directed to notify the Court immediately
       upon resolving where he will be living.

 3.    Defendants are not objecting to the questions in lieu of deposition which the pro se plaintiff
       served for Police Officer Cousins. Therefore, Defendants’ counsel will make arrangements
       for Officer Cousins to respond to the written interrogatories by June 30, 2020 and counsel
       shall serve those responses on the pro se plaintiff on or before June 30.

 4.    I spent some time discussing summary judgment motion practice with the pro se plaintiff this
       morning and informed him that Judge Chen requires a pre-motion conference before such
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       motions can proceed. Any party in this case who wishes to request a pre-motion conference
       before Judge Chen must file that letter request to Judge Chen no later than August 21, 2020.

 5.    Defendants’ counsel is directed to serve a copy of this Order upon the pro se plaintiff
       forthwith by first-class mail to the address plaintiff provided this morning and to file proof of
       such service on ECF by May 22, 2020.


                                                       SO ORDERED.



                                                       /s/ A. Kathleen Tomlinson
                                                       A. KATHLEEN TOMLINSON
                                                       United States Magistrate Judge
